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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT



 JONATHAN MICHEL,


                                Plaintiff,            Case No. 3:20-cv-01080-JCH
 v.

 YALE UNIVERSITY,
                                                      NOVEMBER 12, 2020
                                Defendants.



       REPLY IN SUPPORT OF DEFENDANT’S MOTION [DKT. # 39] TO STAY
                 DISCOVERY PENDING MOTION TO DISMISS


       Defendant Yale University (“Yale”) respectfully submits this reply in support of its motion

to stay discovery [Dkt. #39] pending a decision on Yale’s motion to dismiss [Dkt. #41]. Yale

explained in its opening brief that a stay is warranted because the motion to dismiss raises

substantial grounds for dismissal, discovery in this putative class action would be unduly

burdensome, and Plaintiff Jonathan Michel will suffer little if any prejudice from a stay. Id. Any

stay will be short as Yale submitted its motion to dismiss in early November, Dkt. #41, and the

parties will finish briefing in early December. Plaintiff’s objections to the stay have no merit.

       First, Plaintiff fails to rebut the substantial grounds for dismissal. Connecticut law does

not allow Michel to assert a claim that Yale’s remote instruction was inferior to in-person

instruction, entitling him to a refund under a breach of contract, unjust enrichment, or CUTPA

theory. (See Dkt #39, pp. 5-9; Dkt. # 41.) However labeled, any claim that the transition to remote

learning diminished the educational value of Plaintiff’s semester violates Gupta v. New Britain

Gen. Hosp., 239 Conn. 579 (1996).


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       The only ways around that rule would have required Plaintiff to point to a specific

contractual provision requiring Yale to provide in-person classes under all circumstances, or to

allege a fundamental failure to provide an education, or to allege bad faith. Id. Plaintiff did none

of these. See Dkt. # 41 at pp. 8-21.

       He cites a course catalogue assigning classroom locations, promotional materials

extolling the residential college experience, and a handbook exhorting faculty members to

remain on campus during exams. Am. Compl. ¶¶ 21-29. Those are not the sort of specific

promises cognizable under Gupta and courts have repeatedly found no breach of contract where

a university makes course modifications due to events beyond its control. E.g., Cuesnongle

v.Ramos, 713 F.2d 881, 885 (1st Cir. 1983) (dealing with strike) (it “should startle anyone at all

familiar with university life” “to think that a university could be found to have broken its

contract when it changed the dates of classes, or the curriculum, for reasons beyond its control”).

Moreover, the undergraduate regulations Michel relies upon to support his claims make clear that

Yale had, and continues to have, the discretion to determine the amount of any refunds it chooses

to issue, and it is undisputed that Yale exercised that discretion and provided pro rata refunds of

room and board (which were no longer being used) but not of tuition (as students were still

receiving instruction and credit). Dkt. 41, Ex. A (“ In the unlikely event that public health ...

concerns cause the University temporarily to suspend University programs and operations, the

University will make arrangements for appropriate refunds, consistent with the principles

enunciated in these Regulations, as may in its judgment be warranted in light of all the

circumstances of the suspension and consistent with applicable law and regulations.”) (emphasis

added); Ex. B (“Certain events that are beyond the University’s control may cause or require the

interruption or temporary suspension of some or all services and programs customarily furnished



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by the University. ... In the face of such events, the University may, at its sole discretion,

provide substitute services and programs or appropriate refunds.”) (emphasis added). These

provisions flatly contradict Plaintiff’s claims.

       Plaintiff argues that he has alleged a fundamental failure to provide an in-person education.

Dkt. # 42 at 4-5. That misstates the fundamental failure test, which asks whether a plaintiff has

pleaded a fundamental failure to provide an education, such as a failure to provide the requisite

“days/hours to complete a prescribed course of study,” Wickstrom v. N. Idaho Coll., 111 Idaho

450, 452 n.1 (1986) (cited by Gupta, 239 Conn. at 592), or when Creighton University allowed a

basketball player to graduate with a fourth-grade reading level, Ross v. Creighton, 957 F.2d 410

(7th Cir. 1992). Plaintiff does not allege anything like that: he alleges that online education he

received during a portion of the Spring 2020 semester or the partially on-line education he chose

to enroll in and continues to receive in Fall 2020 is just not as good as fully in-person education,

and that he should thus receive a refund. He does not say that he learned nothing online, or could

not have learned anything online, or that the online education left him fundamentally uneducated.

He alleges a diminished experience, not a fundamentally failed experience.1

       Finally, Plaintiff certainly does not allege bad faith. Rather, he repeatedly acknowledges

that Yale’s actions were warranted in the interest of public health.

       Beyond the Gupta argument, which requires dismissal of the Complaint in its entirety, Yale

also asserted additional pleading failures. Plaintiff has not even addressed those.

       To be sure, a few courts have denied motions to dismiss in other Covid-related tuition

refund cases. But none of those decisions (two district court cases from Florida and several state


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  Plaintiff also erroneously asserts that Yale’s motion to dismiss impermissibly denies alleged
facts. Dkt. # 42 at 6-7. What he characterizes as denials are legal arguments that his allegations
fail to satisfy the plausibility standards required by Iqbal and Twombly.

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court cases in the Midwest) involved Connecticut’s Gupta doctrine. And none of those decisions

involved Yale’s clear contractual language granting it the discretion to determine whether to

provide a refund and, if so, how much. Moreover, other federal judges closer to home have

dismissed Covid-19 tuition reimbursement suits. See, e.g., Satam v. Northeastern University, No.

1:20-cv-10915-RGS, Dkt. #40 (D. Mass. Nov. 6, 2020); Tran v. Boston University, 1:20-cv-10827-

RGS, Dkt. 40 (D. Mass. Nov. 4, 2020); Zhao v. CIEE, Inc., No. 2:20-cv-00240(LEW), 2020 WL

5171438 (D. Me. Aug 31, 2020); Chong v. Northeastern University, No. CV 20-10844, 2020 WL

5847626 (D. Mass. Oct. 1, 2020). The fact that some courts have granted motions to dismiss and

others have denied them does not mean that discovery should proceed immediately while this

Court determines whether to dismiss. If anything, the difference of opinion should give pause, and

militates in favor of a brief stay.

        Most federal courts receiving a motion to stay in a Covid-19 tuition reimbursement suit

have granted them. Plaintiff cites several cases in which a court purportedly denied motions to

stay, but he misrepresents one and overstates others. Michel cites Marbury v. Pace University, No.

20-cv-03210, Dkt. #37 (S.D.N.Y.). There, Pace asked for a stay of discovery, saying it intended to

move for judgment on the pleadings. Judge Furman denied that stay without prejudice, inviting

Pace to renew it after filing the motion. Pace quickly did so, and the Court promptly granted the

stay. Id. at Dkt. #42. Otherwise, Plaintiff cites only docket entries or distinguishable cases. For

example, in Young v. Liberty University, Inc., Case No. 1:20-cv-05742-LGS, ECF #20 (S.D.N.Y. Oct.

13, 2020), the court denied a motion to stay pending a pre-motion letter to the court, before the grounds

for dismissal could be analyzed; the plaintiff then voluntarily dismissed the case, so the court never

considered the stay in light of the potential merits of the motion to dismiss. Likewise, in Zagoria v.

New York University, No. 1:20- cv-03610, ECF #37 (S.D.N.Y. Aug. 11, 2020), the court granted the



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defendant’s motion to stay discovery permitting only discovery objections to be filed and staying other

discovery; the court did not deny a stay pending ruling on a motion to dismiss.2

       Second, Yale has shown that immediate discovery would cause needless burden. As Yale’s

opening brief explained, transitioning to online instruction was a complicated decision that

involved multiple stakeholders, coordination with state and local officials, and coordination across

the Yale community. Michel will likely seek wide-ranging discovery, all the wider because he

purports to represent every student in any of Yale’s undergraduate, graduate, and professional

schools, in both the Spring 2020 and Fall 2020 semesters. Yale’s different schools had their own

communications—internal and external—about the continuity of education and the transition to

online learning during the pandemic. Even if this Court did not dismiss the suit in its entirety

(which Yale believes it must), it should, at a minimum, dismiss Plaintiff’s claims on behalf of non-

undergraduate students and claims seeking tuition reimbursement for the Fall 2020 semester. Dkt.

#40 at 27. Such a decision would significantly narrow the scope of discovery (although the

remaining discovery would still be expansive). By contrast, allowing Michel to proceed

immediately with discovery—on behalf of any Yale student who enrolled in any of Yale’s schools

in either of the last two semesters—would create an enormous burden at a time of great difficulty,

when Yale confronts the threat of a second wave of the pandemic coming fast.

       Third, Plaintiff will suffer little if any prejudice. Delay would be short, as the parties will

finish briefing the motion to dismiss early next month. Moreover, as Michel seeks damages, not

an injunction, delay is not inherently prejudicial. Though he implies otherwise, Plaintiff is free to

decide whether or not to attend Yale in Spring 2021. His pleadings make plain that he understands


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  Yale cited eight Covid-19 cases staying discovery. Plaintiff points out that only five of those
were contested, but all that proves is that multiple plaintiffs’ counsels agreed that a stay was
reasonable given the significant legal issues to be resolved.

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what changes the pandemic has wrought, and he—like all the rest of us—knows now that nothing

is certain. If he does not want to take online classes, or to take on the risk that he may need to take

online classes, he can pause his education, or find an institution that explicitly guarantees in-person

instruction. Waiting a few weeks to serve discovery—if his suit survives the motion to dismiss—

does not alter those choices, and it does not constitute prejudice.

                                          CONCLUSION

       Defendant’s motion to stay should be granted.



                                                        Respectfully submitted,


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